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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   STEVEN WATERBURY,                                 Case No.: 20-cv-1279-DMS-MDD
12                                    Plaintiff,
                                                       ORDER FOLLOWING STATUS
13   v.                                                CONFERENCE
14   LEADPOINT, INC.,
15                                  Defendant.
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17         On October 20, 2020, this matter came before the Court in an informal telephonic
18   conference. Kira Rubel appeared for Plaintiff Steven Waterbury, and Esteban Morales
19   appeared for Defendant LeadPoint, Inc. Upon agreement of the parties, it is ordered that
20   Plaintiff may file a First Amended Complaint on or before November 3, 2020.
21         IT IS SO ORDERED.
22   Dated: October 20, 2020
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                                               Hon. Dana M. Sabraw
24                                             United States District Judge
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